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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 DEBRA MILANO                                     :
               Plaintiff,                         :          CIVIL ACTION
                                                  :          No. 20-6307
               v.                                 :
                                                  :
 IKEA HOLDINGS US, INC. et al.,                   :
               Defendants.                        :

                                          ORDER

       AND NOW, this 27th day of September, 2021, upon consideration of Defendant IKEA

Holdings US, Inc., IKEA US Retail, LLC, and IKEA North America Services, LLC’s

(“IKEA’s”) Motion to Dismiss (ECF No. 6) and Motion to Transfer (ECF No. 7) , it is

ORDERED that:

          •   IKEA’s Motion to Dismiss under Rule 12(b)(1) is DENIED;

          •   IKEA’s Motion to Dismiss under Rule 12(b)(6) is DENIED;

          •   IKEA’s Motion to Transfer is DENIED without prejudice.



                                                __s/ANITA B. BRODY, J.____

                                                  ANITA B. BRODY, J.
